Case 19-11499-mdc        Doc 63    Filed 08/14/20 Entered 08/14/20 07:50:54              Desc Main
                                   Document     Page 1 of 1



                   IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


IN RE:                                                 : BANKRUPTCY NO. 19-11499(MDC)
DONNA M. FITZPATRICK                                   :
                                                       : CHAPTER 13
                                                       :
                      Debtor                           :

             NOTICE OF APPEARANCE AND REQUEST FOR SERVICE OF ALL
            NOTICES AND PLEADINGS ON BEHALF OF ALLY FINANCIAL INC.

        PLEASE TAKE NOTICE that Ally Financial Inc. appears herein by and through its
counsel, LAVIN, CEDRONE, GRAVER, BOYD & DiSIPIO, and enters its appearance and
requests that all notices given or required to be given in this case, whether pursuant to
Bankruptcy Rule 2002, 9007, 9010 or Bankruptcy Code Sections 102(1), 342 and 1109(b) or any
other provisions of the Bankruptcy Code or Bankruptcy Rules, and all pleadings served or
required to be served in this case be given to and served upon the undersigned at the following
office address and telephone number:

                Regina Cohen, Esquire
                LAVIN, CEDRONE, GRAVER, BOYD & DiSIPIO
                190 North Independence Mall West, Suite 500
                6th and Race Streets
                Philadelphia, PA 19106
                (215) 627-0303

        PLEASE TAKE FURTHER NOTICE that the foregoing request includes not only the
notices and pleadings referred to in the Rules specified above, but also includes without
limitation, Orders and Notices of any application, motions, petitions, pleadings, requests,
complaints or demands, whether formal or informal, whether written or oral and whether
transmitted or conveyed by mail, delivery, telephone, telegraph, telex or otherwise: (1) which
affect or seek to affect in any way any rights or interest of Ally Financial Inc. with respect to (a)
debtor, (b) property or proceedings thereof in which debtor may claim an interest or (c) property
or proceeds thereof in the possession, custody or control of Ally Financial Inc. which debtor may
seek to use; or (2) which require or seek to require any act, delivery of any property, payment or
other conduct by Ally Financial Inc.

                                             LAVIN, CEDRONE, GRAVER, BOYD & DiSIPIO


DATED: August 14, 2020                       By:   /s/ Regina Cohen
                                                   Regina Cohen, Esquire
                                                   Attorneys for Ally Financial Inc.




2180622v1
